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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           : Case: 21-cr-725-1 (RDM)
                                             :
JARED SAMUEL KASTNER                   :
                                             :
Defendant.                                   :


 DEFENDANT KASTNER’S RESPONSE TO DISTRICT COURT’S QUERY
REGARDING APPEALABILITY OF MAGISTRATE’S DETENTION ORDER.
COMES NOW, the Defendant, Jared Kastner, by and through counsel, and

herewith respectfully responds to the District Court’s 4/3/2023 MINUTE ORDER

to submit a filing “addressing whether Magistrate Judge Upadhyaya's Order, Dkt.

[97], is appealable to this Court under 28 U.S.C. § 636 or any other authority.”

      Kastner submits that, under the relevant rules and statutes in question and

case law regarding the question, (1) the Magistrate Judge’s order is appealable, and

(2) to this Court.

      Of course, 28 USC 636 is a section of the United States Code that outlines

the jurisdiction, powers, and temporary assignment of United States magistrate

judges. But even in cases where a Magistrate is given authority by a district court
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“for all purposes,” (Min. Order (Dec. 21, 2022), such authority is not plenary,

limitless, or unappealable.

      In United States v. Maull, 773 F.2d 1479 (8th Cir. 1985), the issue presented

was whether under the Bail Reform Act of 1984, 18 U.S.C. § 3142, a district court

could review a defendant's appeal for a reduction of a magistrate's bond order, may

on its own motion call for a detention hearing and order a defendant detained

pending trial. A panel of the Eighth Circuit held that the district court is without the

authority to do so. “We granted rehearing en banc and we now hold that the district

court has such power.” “We thus affirm the order of the district court.”

      In United States v. Rueben, 974 F.2d 580 (5th Cir. 1992) the Fifth Circuit

addressed a case where a district court revoked a magistrate’s release-from-pretrial-

detention order (after first sustaining it). The 5th Circuit found the decision of the

district court “not supported by the proceedings below and we therefore reverse

and vacate.” At no time in the proceedings did either the government or any court

find that there was no avenue for appellants to appeal. Rather, the 5th Circuit

described the duties and roles of the courts as follows:

              When the district court acts on a motion to revoke or amend
        a magistrate's pretrial detention order, the district court acts de novo
        and must make an independent determination of the proper pretrial
        detention or conditions for release. United States v. Fortna, 769
        F.2d 243, 249 (5th Cir.1985). Absent an error of law, we must
        uphold a district court order “if it is supported by the proceedings
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        below,” a deferential standard of review that we equate to the
        abuse-of-discretion standard. United States v. Hare, 873 F.2d 796,
        798 (5th Cir.1989). On appeal, the question becomes whether the
        evidence as a whole supports the conclusions of the proceedings
        below. United States v. Trosper, 809 F.2d 1107, 1111 (5th Cir.1987).
Id. At 585-86.

      Perhaps the most directly on-point case is United States v. Green,

793 Fed.Appx. 223, 793 Fed.Appx. 223 (5th Cir. 2019), an unpublished

case involving a tax-evasion defendant who initially did not object to a no-

firearms condition when it was imposed. Later, a magistrate judge denied a

motion to modify Green’s conditions to allow Green to possess firearms.

“Green filed objections to the no-firearms condition with the district court

and . . . the district court affirmed the condition. Green noticed his

interlocutory appeal with this court a week later.” The 5th Circuit held that

“[w]hen the district court acts on a motion to revoke or amend a

magistrate’s pretrial detention order, the district court acts de novo and

must make an independent determination. . . .” “Here, the district court

affirmed in full the magistrate judge’s pretrial release no-firearms condition

in a two-line electronic order, without providing any discussion as to how

the condition was proper under the statute. Moreover, the record is not

developed enough at this point to provide an independent ground for our

affirming the condition.”
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      The Green Court found an abuse of discretion and remanded for the

district court to “conduct additional fact-finding concerning Green’s

pretrial release no-firearms condition.” “Because we remand on this basis,

we need not reach the merits of Green’s constitutional arguments.” Never

did the 5th Circuit pronounce that it was without jurisdiction to examine

Green’s pre-trial firearm condition.

      In Kastner’s case, Kastner will have the full right to possess and

carry firearms at the very instant this case is closed. If he pled guilty today,

he could likely be able to possess firearms tomorrow. And the right to bear

arms is a fundamental constitutional right. New York Rifle and Gun Club v.

Bruen.

Dated: April 10, 2023

                                            RESPECTFULLY SUBMITTED,

                                                                        /s/ John M. Pierce
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CERTIFICATE OF SERVICE

I hereby certify and attest that on April 10, 2023, I uploaded this document
to the Court’s ECF electronic filing system, thereby serving the document
on all parties.
/s/ John Pierce
